Case 1:17-cv-01692-CFC-SRF Document 41 Filed 10/02/18 Page 1 of 1 PageID #: 1336

                         MORRIS, NICHOLS, ARSHT                  &   TUNNELL     LLP

                                        1201 N ORTH M ARKET S TREET
                                               P.O. B OX 1347
                                    W ILMINGTON , D ELAWARE 19899-1347

                                                 (302) 658-9200
                                              (302) 658-3989 FAX

 JACK B. BLUMENFELD
 (302) 351-9291
 (302) 425-3012 FAX
 jblumenfeld@mnat.com


                                               October 2, 2018


 The Honorable Sherry R. Fallon                                             VIA ELECTRONIC FILING
 United States District Court
  For the District of Delaware
 844 North King Street
 Wilmington, DE 19801

           Re:        Realtime Adaptive Streaming LLC v. Netflix, Inc., et al.
                      C.A. No. 17-1692 (CFC) (SRF)

 Dear Judge Fallon:

        Attached is a copy of Exhibit B to Netflix’s opening brief in support of its motion to
 dismiss (D. 13). We apologize that this was omitted from the brief as filed.

                                                           Respectfully,

                                                           /s/ Jack B. Blumenfeld

                                                           Jack B. Blumenfeld (#1014)

 JBB/bac
 Attachment

 cc:       Clerk of Court (via hand delivery; w/attachment)
           All Counsel of Record (via electronic mail; w/attachment)
